       Case: 4:18-mj-01061-JMB Doc. #: 9 Filed: 02/21/18 Page: 1 of 2 PageID #: 16



                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

 UNITED STATES OF AMERICA                                          )
                                                                   )
         Plaintiff,                                                )
                                                                   )
 v.                                                                ) No. 4:18 MJ 1061 JMB
                                                                   )
 DUSTIN LOCKWOOD                                                   )
                                                                   )
         Defendant.                                                )



                           MOTION TO RESET DETENTION HEARING

       Comes now Defendant, Dustin Lockwood, through his attorney, Melissa Goymerac, Assistant

Federal Public Defender, and requests this Court reset his detention hearing to a time during the morning

of Monday February 26, 2018, instead of the current 1:30pm setting. Counsel for Mr. Lockwood intends

to call a witness that will be unavailable to appear in the afternoon.

       WHEREFORE, defendant requests this Court grant his request to reset his detention hearing to

10am or sooner to allow for his witness to appear.



                                               Respectfully submitted,

                                               /s/ Melissa K. Goymerac
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      Case: 4:18-mj-01061-JMB Doc. #: 9 Filed: 02/21/18 Page: 2 of 2 PageID #: 17




                                   CERTIFICATE OF SERVICE

I hereby certify that on February 21, 2018, the foregoing was filed electronically with the Clerk of the
Court to be served by operation of the Court’s electronic filing system upon Rodney Holmes, Assistant
United States Attorney.


                                            Respectfully submitted,

                                            /s/ Melissa K. Goymerac
                                            MELISSA K. GOYMERAC
                                            Assistant Federal Public Defender
